               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                       SOUTH BEND DIVISION

MATTHEW C. MCKINNON,                )
                                    )
Plaintiff,                          )
                                    )
     vs.                            )   CAUSE NO. 3:10-CV-41
                                    )
MARK LEVENHAGEN,                    )
Superintendent,                     )
                                    )
Defendant.                          )

                        OPINION AND ORDER
     This matter is before the Court sua sponte, pursuant to 28

U.S.C. Section 1915A.   For the reasons set forth below, the Court

DENIES Plaintiff leave to proceed against Defendant and ORDERS the

clerk to DISMISS the complaint pursuant to 28 U.S.C. § 1915A(b)(1).



BACKGROUND

     Pro se Plaintiff, Matthew McKinnon, a prisoner confined at the

Indiana State Prison (“ISP”), filed a complaint pursuant to 42

U.S.C. § 1983, alleging that ISP Superintendent Mike Levenhagen

violated his federally protected rights and rights protected by

Indiana’s constitution by taking away his contact visitation.

McKinnon seeks injunctive relief reinstating his contact visitation

privileges.
DISCUSSION

     Pursuant to 28 U.S.C. § 1915A(a), the court shall review any

“complaint in a civil action in which a prisoner seeks redress from

a governmental entity or officer or employee of a governmental

entity.”   The court must dismiss an action against a governmental

entity or officer or employee of a governmental entity if it is

frivolous, malicious, or fails to state a claim upon which relief

may be granted, or seeks monetary relief against a defendant who is

immune from such relief.   28 U.S.C. § 1915A(b).   Courts apply the

same standard under § 1915A as when addressing a motion under

Federal Rule of Civil Procedure 12(b)(6).       See Lagerstrom v.

Kingston, 463 F.3d 621, 624 (7th Cir. 2006).

     A document filed pro se is to be liberally construed, and a

pro se complaint, however inartfully pleaded, must be held to less

stringent standards than formal pleadings drafted by lawyers.”

Erickson v. Pardus, 551 U.S. 89, 94 (2007) (quotation marks and

citations omitted).   To survive a motion to dismiss:

     [A] complaint must contain sufficient factual matter,
     accepted as true, to state a claim to relief that is
     plausible on its face. A claim has facial plausibility
     when the plaintiff pleads factual content that allows the
     court to draw the reasonable inference that the defendant
     is liable for the misconduct alleged. The plausibility
     standard is not akin to a probability requirement, but it
     asks for more than a sheer possibility that a defendant
     has acted unlawfully. Where a complaint pleads facts
     that are merely consistent with a defendant’s liability,
     it stops short of the line between possibility and
     plausibility of entitlement to relief.

     . . . only a complaint that states a plausible claim for

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      relief survives a motion to dismiss. Determining whether
      a complaint states a plausible claim for relief will, as
      the Court of Appeals observed, be a context-specific task
      that requires the reviewing court to draw on its judicial
      experience and common sense. But where the well-pleaded
      facts do not permit the court to infer more than the mere
      possibility of misconduct, the complaint has alleged –
      but it has not shown – that the pleader is entitled to
      relief.

      In keeping with these principles a court considering a
      motion to dismiss can choose to begin by identifying
      pleadings that, because they are no more than
      conclusions, are not entitled to the assumption of truth.
      While legal conclusions can provide the framework of a
      complaint, they must be supported by factual allegations.
      When there are well-pleaded factual allegations, a court
      should assume their veracity and then determine whether
      they plausibly give rise to an entitlement to relief.

Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949-50; 173 L. Ed. 2d 868, 884

(2009) (quotation marks and citations omitted).

      According to the complaint, prison officials charged McKinnon

with a violation of the Indiana Department of Correction rules.   A

disciplinary hearing board (“DHB”) found McKinnon guilty of those

charges and sanctioned him with a loss of earned credit time and a

demotion to a lower credit time earning classification. (DE #1, p.

3.)   After the DHB found McKinnon guilty, ISP officials, in a

separate administrative action, modified his visiting privileges by

taking away his contact visitation.    (Id.)   McKinnon alleges that

the subsequent imposition of restrictions on his contact visitation

privileges “violated the Petitioner’s ‘due process’ and double

jeopardy rights, both protected under the United States and Indiana

State Constitution.”   (Id.)

      McKinnon brings this action under 42 U.S.C. § 1983, which

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provides a cause of action to redress the violation of federally

secured rights by a person acting under color of state law.      See

Burrell v. City of Mattoon, 378 F.3d 642 (7th Cir. 2004).   To state

a claim under § 1983, a plaintiff must allege the violation of

rights secured by the Constitution and laws of the United States,

and must show that a person acting under color of state law

committed the alleged deprivation.    See West v. Atkins, 487 U.S. 42

(1988).   The first inquiry in every § 1983 case is whether the

plaintiff has been deprived of a right secured by the Constitution

or laws of the United States.   See Baker v. McCollan, 443 U.S. 137,

140 (1979).    There is no right to visitation secured by the

Constitution or laws of the United States. Consequently, McKinnon’s

claim that the restrictions on his contact visitation violated

provisions of the Indiana constitution states no claim upon which

relief can be granted under § 1983.

     McKinnon also alleges that the imposition of restrictions on

his contact visitation in a second action, following the initial

prison disciplinary proceeding, violated the Fifth Amendment’s

double jeopardy clause.   The double jeopardy clause, applicable to

the states by the Fourteenth Amendment, protects against a second

prosecution for the same offense and multiple punishments for the

same offense, but its scope is limited to criminal prosecutions. See

Middleton v. Jones, 421 U.S. 519 (1975). Prison discipline does not

constitute “prosecution” for double jeopardy purposes, even if it


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delays release from incarceration by depriving the prisoner of good

time.     See Garrity v. Fiedler, 41 F.3d 1150, 1152-53 (7th Cir.

1994).     Accordingly, being subjected to a disciplinary action and

then     being   deprived   of   contact    visitation   in       a    subsequent

administrative action does not violate the Constitution’s double

jeopardy clause.

        Finally, McKinnon asserts that the restriction on his contact

visitation in an administrative action under an IDOC policy without

proof that he violated a rule while he was in the visiting area

denied him due process of law.             The Fourteenth Amendment’s due

process clause, however, does not protect against every change in

the conditions of confinement having a substantial adverse impact

on a prisoner.     See Sandin v. Conner, 515 U.S. 472, 484 (1995).                A

convicted prisoner is entitled to due process only when the

conditions imposed work an atypical and significant hardship on him

in relation to the ordinary incidents of prison life or where the

discipline imposed infringed on rights protected by the due process

clause of its own force.         Even transferring a prisoner from the

general population to a segregation unit does “not present the type

of   atypical,    significant    deprivation    in   which    a       state   might

conceivably create a liberty interest,” and is “within the expected

parameters of the sentence imposed by a court of law.”                 Id. at 485.

        There is no Constitutional right to contact visitation, Thorne

v. Jones, 765 F.2d 1270 (5th Cir. 1985), and inmates have no


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independent constitutional right to visitation or to particular

forms of visitation.     See, e.g., Kentucky Dept. of Corrections v.

Thompson, 490 U.S. 454 (1989);          Smith v. Shettle, 946 F.2d 1250

(7th Cir. 1991).      Moreover, prison officials have considerable

discretion in determining the time, place, duration, and conditions

of visitation.      See Berry v. Brady, 192 F.3d 504, 508 (5th Cir.

1999); Peterson v. Shanks, 149 F.3d 1140, 1145 (10th Cir. 1998).

The restriction Superintendent Levenhagen placed on McKinnon’s

visitation falls within the discretion the Constitution affords to

prison officials, the restriction does not work an atypical and

significant hardship on him in relation to the ordinary incidents

of prison life, and it is “within the expected parameters of the

sentence imposed by a court of law.”       Sandin v. Conner, 515 U.S. at

485.



CONCLUSION

       For   the   foregoing   reasons,    pursuant   to   28   U.S.C.   §

1915A(b)(1), the court DISMISSES this complaint.



DATED: March 22, 2010                     /s/ RUDY LOZANO, Judge
                                          United States District Court




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